                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE




UNITED STATES OF AMERICA                                   )
                                                           )
v.                                                         )        No. 3:06-CR-154
                                                           )
BILLY FLOYD LEASURE                                        )



                                  MEMORANDUM AND ORDER


                 This criminal case is before the court on the defendant’s motion for a

new trial [doc. 52]. The government has responded [doc. 54], and the motion is

ripe for the court’s consideration. For the reasons discussed below, the

defendant’s motion will be denied.

                 In his motion, the defendant argues that the jury’s verdict was

inconsistent in that they were unable to agree on the conspiracy charge (Count

One), but found him guilty of aiding and abetting the distribution of cocaine base

(Count Two). He argues that if there was no conspiracy, he could not have aided

and abetted the substantive offense. He contends that this inconsistency,

combined with the jury’s earlier report that they were deadlocked1 and at least

one disgruntled juror, requires a new trial. Further, the defendant argues that the


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          At which point, the court gave the Sixth Circuit pattern instruction for deadlocked juries without
objection by the defendant or the government.



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only evidence of his intent was his own testimony that he did not intend to

distribute the crack cocaine, but had it for his own use. Thus, the evidence was

insufficient to support a finding of guilt on the distribution count.

             In its response, the government agrees that the jury was having

trouble coming to a decision, but this difficulty does not require a new trial. The

jury was not coerced into a decision, but merely reminded of their responsibilities.

             In response to the defendant’s argument that the jury’s verdict was

inconsistent, the government asserts that the jury was instructed to consider each

count separately, and it was the jury’s prerogative to render a verdict on one

charge without reaching an agreement on another. Further, the conspiracy

charge and the aiding and abetting distribution of cocaine base charge have

different elements, so a rational jury could fail to agree on one count but find the

defendant guilty of the other.

             Finally, in response to the defendant’s argument that the evidence of

his intent was insufficient to support the jury’s verdict on Count Two, the

government contends that when all the evidence, circumstantial as well as direct,

is considered in the light most favorable to the government, there was sufficient

evidence to support the guilty verdict. Thus, there was no error, and the

defendant is not entitled to a new trial.

             The court agrees with the government’s arguments. The jury’s

failure to reach a verdict on the conspiracy count while finding the defendant

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guilty of aiding and abetting the distribution of cocaine base merely demonstrates

that the jury followed the court’s instructions and considered each charge

separately. Also, the fact that the jury deadlocked, was reminded of its

responsibilities, and then came to an agreement on Count Two, is not a

circumstance that requires a new trial. Finally, the court finds that there was

sufficient circumstantial evidence of the defendant’s intent to distribute cocaine

base, notwithstanding his testimony to the contrary, to support the jury’s verdict

on Count Two.

             For these reasons, it is hereby ORDERED that the defendant’s

motion for a new trial is DENIED.




                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




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